             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:14-cv-00058-MR
             (CRIMINAL CASE NO. 1:07-cr-00032-MR-4)


DARIAN KENDALL ROBINSON,         )
                                 )
              Petitioner,        )
                                 )             MEMORANDUM OF
         vs.                     )             DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
                                 )
              Respondent.        )
________________________________ )

     THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence, filed under 28 U.S.C. § 2255 [Doc. 1], as

well as his two Supplements to the Motion to Vacate [Docs. 2, 3]. No

response from the Government is necessary. For the reasons that follow,

the Court finds that this is an unauthorized, successive petition. The Court

therefore dismisses the Motion to Vacate.

I.   PROCEDURAL BACKGROUND

     On July 9, 2007, Petitioner entered into a plea agreement with the

Government pursuant to which he pled guilty to conspiracy to possess with

intent to distribute 50 or more grams of cocaine base, in violation of 21

U.S.C. §§ 841 and 846. [Criminal Case No. 1:07-cv-00032-4, Doc. 79:


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Plea Agreement]. Petitioner was designated as a career offender under

U.S.S.G. § 4B1.1. This Court subsequently sentenced Petitioner to 276

months’ imprisonment. [Id., Doc. 170: Judgment].

      Petitioner filed his first 28 U.S.C. § 2255 petition on December 28,

2009. This Court denied Petitioner’s motion with prejudice on the merits on

December 28, 2010. [Id., Docs. 199, 201; Civil Case No. 1:09-cv-00473

(W.D.N.C.)]. Petitioner filed a second 28 U.S.C. § 2255 petition on August

30, 2012, and this petition was denied as an unauthorized successive

petition on January 16, 2013.1 [Id., Docs. 253, 260; Civil Case No. 1:12-cv-

00276 (W.D.N.C.)]. Petitioner placed the instant Section 2255 petition in

the prison system for mailing on February 14, 2014, and it was stamp-filed

in this Court on February 24, 2014. Thus, this is the third Section 2255

petition filed by Petitioner challenging the conviction and sentence in

Criminal Case No. 1:07-cr-00032-MR-4. In the instant petition, Petitioner

contends that he was improperly sentenced as a career offender in light of

Alleyne v. United States, 133 S. Ct. 2151 (2013). Petitioner also contends

that he is actually innocent of the underlying crime for which he was

convicted.



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   Petitioner styled the action as a motion under Rule 60(b)(1) of the Federal Rules of
Civil Procedure, but the Court determined it was, in substance, a successive petition.
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II.    STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

no response is necessary from the United States. Further, the Court finds

that this matter can be resolved without an evidentiary hearing.              See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.   DISCUSSION

       Pursuant to 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or

successive application permitted by this section is filed in the district court,

the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application.”        The instant

motion to vacate is a successive petition. Thus, Petitioner must first obtain

an order from the United States Court of Appeals for the Fourth Circuit

before this Court will consider any successive petition under 28 U.S.C. §

2255. Petitioner has not shown that he has obtained the permission of the

United States Court of Appeals for the Fourth Circuit to file a successive

petition. See also 28 U.S.C. § 2255(h) (“[a] second or successive motion


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must be certified as provided in section 2244 by a panel of the appropriate

court of appeals.”).       Accordingly, this successive petition must be

dismissed. See Burton v. Stewart, 549 U.S. 147, 153 (2007) (holding that

failure of petitioner to obtain authorization to file a “second or successive”

petition deprived the district court of jurisdiction to consider the second or

successive petition “in the first place.”).

IV.   CONCLUSION

      For the reasons stated herein, Petitioner’s Section 2255 petition is

dismissed.

      Pursuant to Rule 11(a) of the Rules Governing Section 2254 and

Section 2255 Cases, this Court declines to issue a certificate of

appealability. See 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S.

322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on procedural

grounds, a petitioner must establish both that the dispositive procedural

ruling is debatable and that the petition states a debatable claim of the

denial of a constitutional right).




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                                  ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DISMISSED as a successive petition.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.
                                 Signed: June 7, 2014




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